Case 2:23-cv-06188-JMW Document 11-11 Filed 08/20/23 Page 1 of 4 PagelD #: 265

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BUSINESS SIGNATURE CARD V2.4_09_30_19

This form captures the signatures of authorized account signers of the Customer. Each signer must use black ink to
sign inside the signature box or insert a duplicate image of an original signature. They may also provide a facsimile
signature (including a computer generated signature) that can be applied to a check drawn on the Customer's

account Page 1 of_1

eT Cue lelicy

Legal name SUPERB MOTORS INC

TIN/SSN a &) Signatures for new Account(s)

C0 Additional signatures for listed Account(s)

Address 215 NORTHERN BLVD C Replacement of all signatures for listed Account(s)
City, State ZIP GREAT NECK, NY, 110214401, USA Phone
Account(s) Number(s) and title(s) > a SUPERB MOTORS INC. Payroll Account

pe ed Led

Name Robert Urrutia Phone number(s) 631-§61-9807
Title Owner Signature #

Business email tony@macautogroupct.com

Name Karla Cruz Phone number(s) (203)-520-5110
Title Chief Financial Officer Signature G

Business email karla@yourteamauto.com

pve ein’

Customer agrees that:

¢ it has received and is bound by to Account Terms and any applicable Service Terms, supplements, or amendments

¢ a facsimile signature may only be used for the issuance or endorsement of checks and that any person who applies such an image is authorized
to issue, or verify the issuance of, any check drafted against the listed Account(s) or endorse a check for deposit to the listed Account(s), and

« JPMorgan Chase, N.A. (the bank) can rely on each Account signer’s authority until the bank receives written notice to the contrary and has had
reasonable opportunity to act on it

bor Tatliter-lttelg)

| certify that | am authorized to sign this document for the Customer and that each:
¢ statement in this document is correct and satisfies our internal account authorization. organization and governing documents
e Account signer's signature, whether an original or a duplicate image of an original, is an accurate and complete representation of that signer’s

signature
¢ Account signer is authorized to sign and act for the Customer for each listed Account (including enrolling in a service), and
« image (including a facss nature) is authorized for use when issuing a check, regardless of who applies it or how it is applied
Signature Name Robert Urrutia Date

Title Owner “| | r(

Signature # Name Date
(if required by your
corporate resolution) Title

PN: 2071805 DOC ID: 3 Page 4 of 5

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TIN/SSN a J Signatures for new Account(s)

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City, State ZIP GREAT NECK, NY, 110214401, USA Phone.

Accounts) Number(s) anc tito(s) -ARREEEEEEISUPERG MOTORS ING PAYROLL ACCOUNT
UPERB MOTORS ING OPERATING ACCOUNT

rebel

Name ROBERT URRUTIA . . Phone number 63t-561- 9807.”
Tite OWNER > Sigdature : 5 ¢ . ft
Business email fony@yourteamauto.com f ed )
Name ALYSIA CAYER i

Tate cro

Business emai - alysiac@yourtaamaute.corn

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@ JPMirgan Chase, NA. {the bank) can rely on each Account wanes suthority. unl tha bank racaives writlen notice tothe contrary and.has had
reasonable aan, bo - on it

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» Statement in this document is covect snd satisfies our intemal account authorzalion, ‘organization and governing documents
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2-5 23

Signature ¢ Date

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Sos eters: Gtohibgey

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Page 2 of 2

Legal name SUPERB MOTORS INC.

Accounl(s} UPERB MOTORS INC-PAYROLL ACCOUNT -
UPERB MOTORS ING OPERATING ACCOUNT

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Name. Phone numtier(s}
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PN: 2230259. DOC:tD: 1 Page 3 of 3

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BUSINESS SIGNATURE CARD V2.4_09_30_19

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account. Page 1 of1
Legal name SUPERB MOTORS INC.
TIN/SSN 862372229 CJ Signatures for new Account(s)

X] Additional signatures for listed Account(s)
Address 215 NORTHERN BLVD CJ Replacement of all signatures for listed Account(s)
City, State ZIP GREAT NECK, NY, 110214401, USA Phone
Account(s) Number(s) and title(s) >]: SUPERB MOTORS INC. PAYROLL ACCOUNT

PXererol tle @-y (efile)

Name Alex Kikirov Phone number(s) 917-285-5955
Title Partner Signature #

Business email alexk@yourteamauto.com aby howe
Name Phone number(s)

Title Signature #

Business email

Customer agrees that:

e it has received and is bound by to Account Terms and any applicable Service Terms, supplements, or amendments

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| certify that | am authorized to sign this document for the Customer and that each:

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e Account signer’s signature, whether an original or a duplicate image of an original, is an accurate and complete representation of that signer’s
signature

e Account signer is authorized to sign and act for the Customer for each listed Account (including enrolling in a service), and

e image (including a facsimile signature) is authorized for use when issuing a check, regardless of who applies it or how it is applied.

2
Signature G Name ROBERT A URRUTIA Date
Ly Title OWNER 10/10/2022
2
Signature Ge Name Date
(if required by your
corporate resolution) Title

PN: 2368881 DOC ID: 1 Page 2 of 3
